Case 6:17-cv-00034-PGB-DCI Document 106 Filed 08/01/18 Page 1 of 5 PageID 3571




                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION


 ANEURIN ADLAI LAVALLE,

                     Plaintiff,

 v.                                                          Case No: 6:17-cv-34-Orl-40DCI

 BIMAL FERNANDO,

                     Defendant.
                                           /

                                           ORDER

       This cause is before the Court on the Motion to Dismiss filed by Defendant Bimal

 Fernando (Doc. 80), and Plaintiff’s Response in Opposition (Doc. 84). For the reasons

 set forth herein, Plaintiff’s Second Amended Complaint is due to be dismissed with

 prejudice.

 I.    BACKGROUND

       Plaintiff, acting pro se, initiated this action for allegedly fraudulent billing practices

 employed by Defendants National Exemption Service and Bimal Fernando. Plaintiff’s

 Amended Complaint, which spanned 151 pages and asserted thirty-three different causes

 of action, was dismissed as a quintessential shot gun pleading. (Doc. 59). The Court

 found the Complaint to be excessively long-winded, needlessly repetitive, and contained

 numerous irrelevant factual allegations that detracted from Plaintiff’s attempt to state a

 claim. With the Court’s leave, Plaintiff filed a Second Amended Complaint. (Doc. 73).

 Plaintiff’s amended pleading, including exhibits, now spans 349 pages and contains 529

 numbered paragraphs.
Case 6:17-cv-00034-PGB-DCI Document 106 Filed 08/01/18 Page 2 of 5 PageID 3572




        Defendant National Exemption Service was dismissed from this action on May 17,

 2018, leaving only claims against Defendant Bimal Fernando (“Fernando”). (Doc. 96).

 Fernando moves to dismiss Plaintiff’s Second Amended Complaint with prejudice as an

 impermissible shotgun pleading.

 II.    STANDARD OF REVIEW

        To survive a motion to dismiss made pursuant to Rule 12(b)(6), a complaint “must

 contain sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible

 on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v.

 Twombly, 550 U.S. 544, 570 (2007)). A claim is plausible on its face when the plaintiff

 “pleads factual content that allows the court to draw the reasonable inference that the

 defendant is liable for the misconduct alleged.” Id.

        The Court is also mindful that a pro se plaintiff’s pleadings “are held to a less

 stringent standard.” Hughes v. Lott, 350 F.3d 1157, 1160 (11th Cir. 2003) (internal

 quotation marks omitted). The Court has a duty to liberally construe a pro se plaintiff's

 filings and to afford greater leeway in alleging a claim for relief than what is given to

 licensed attorneys. Tennyson v. ASCAP, 477 F. App’x 608, 609–10 (11th Cir. 2012) (per

 curiam).

        Nevertheless, “pro se litigants still are required to conform to procedural rules.”

 Hickman v. Hickman, 563 F. App’x 742, 743 (11th Cir. 2014) (per curiam) (citing Albra v.

 Advan, Inc., 490 F.3d 826, 829 (11th Cir. 2007)). Those rules require “a short and plain

 statement of the claim showing that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a).

 Under this pleading standard, “[e]ach allegation must be simple, concise, and direct.” Fed.

 R. Civ. P. 8(d)(1). Each claim is to be presented in a separate numbered paragraph, and




                                                 2
Case 6:17-cv-00034-PGB-DCI Document 106 Filed 08/01/18 Page 3 of 5 PageID 3573




 each paragraph should be “limited as far as practicable to a single set of circumstances.”

 Fed. R. Civ. P. 10(b). These requirements give the defendant fair notice of the claim being

 asserted against him and make clear the grounds upon which the claim rests. See

 Hickman, 563 F. App’x at 743.

         “A complaint that fails to articulate claims with sufficient clarity to allow the

 defendant to frame a responsive pleading constitutes a ‘shotgun pleading.’” Lampkin-

 Asam v. Volusia Cnty. Sch. Bd., 261 F. App’x 274, 277 (11th Cir. 2008) (per curiam)

 (quoting Byrne v. Nezhat, 261 F.3d 1075, 1128–29 (11th Cir. 2001)). Shotgun pleadings

 are condemned by the Eleventh Circuit, which has specifically instructed district courts to

 dismiss shotgun pleadings as “fatally defective.” B.L.E. v. Georgia, 335 F. App’x 962, 963

 (11th Cir. 2009) (per curiam) (citations omitted).

 III.    DISCUSSION

         Fernando first challenges the Second Amended Complaint as a shotgun pleading. 1

 In dismissing Plaintiff’s Amended Complaint, the Court directed Plaintiff to file an



 1      In Weiland v. Palm Beach County Sheriff’s Office, 792 F.3d 1313 (11th Cir. 2015),
        the Eleventh Circuit outlined four types of “shotgun” complaints which require
        dismissal:

                The most common type—by a long shot—is a complaint containing
                multiple counts where each count adopts the allegations of all
                preceding counts, causing each successive count to carry all that
                came before and the last count to be a combination of the entire
                complaint. The next most common type . . . is a complaint . . . replete
                with conclusory, vague, and immaterial facts not obviously
                connected to any particular cause of action. The third type of
                shotgun pleading is one that commits the sin of not separating into a
                different count each cause of action or claim for relief. Fourth, and
                finally, there is the relatively rare sin of asserting multiple claims
                against multiple defendants without specifying which of the
                defendants are responsible for which acts or omissions, or which of
                the defendants the claim is brought against.



                                               3
Case 6:17-cv-00034-PGB-DCI Document 106 Filed 08/01/18 Page 4 of 5 PageID 3574




 amended complaint that would “remove extraneous and irrelevant allegations” and set

 forth allegations in numbered paragraphs against specific defendants. (Doc. 59, p. 10).

 While Plaintiff heeded some of the Court’s directives and provided numbered paragraphs,

 Plaintiff otherwise failed to remedy the deficiencies identified by this Court’s previous

 Order. The Second Amended Complaint contains 136 pages, with an additional 213

 pages of exhibits, and remains so verbose that the Court is unable to identify with clarity

 what facts support each of the different causes of action. The Second Amended

 Complaint is in no way “simple, concise, and direct.” See Fed. R. Civ. P. 8(d)(1).

 Moreover, in each cause of action, Plaintiff “repeats and realleges the allegations and

 averments set forth” in hundreds of paragraphs from throughout the Complaint, requiring

 Fernando and this Court to shift through numerous confusing facts in a futile attempt to

 determine what facts support each cause of action.

        For example, in Count V—which spans from paragraphs 459 through 474—

 Plaintiff repeats and incorporates the allegations set forth in paragraphs 1–45, 56–248,

 and 262–409. Many of these paragraphs contain factual allegations regarding Defendant

 National Exemption Service, making it onerous—if not impossible—for Fernando to

 discern what factual allegations are alleged against him. Accordingly, Plaintiff’s Second

 Amended Complaint is yet another shotgun pleading.

        Because the Second Amended Complaint fails to comply with federal pleading

 requirements, it is due to be dismissed. “[A] pro se plaintiff must generally ‘be given at

 least one chance to amend the complaint before the district court dismisses the action

 with prejudice . . . .’” LaCroix v. W. Dist. of Ky., 627 F. App'x 816, 819 n.1 (11th Cir. 2015)



      Id. at 1321–23 (footnotes omitted).



                                               4
Case 6:17-cv-00034-PGB-DCI Document 106 Filed 08/01/18 Page 5 of 5 PageID 3575




 (per curaim) (quoting Bank v. Pitt, 928 F.2d 1108, 1112 (11th Cir.1991) overruled in part

 by Wagner v. Daewoo Heavy Indus. Am. Corp., 314 F.3d 541, 542 (11th Cir. 2002) (en

 banc)). Leave to amend is not required where an amendment would be futile. Id. Given

 the Court has previously granted leave to amend, and Plaintiff was unable to remedy the

 deficiencies identified by this Court, the Court finds that another amendment would be

 futile. Accordingly, the Amended Complaint is due to be dismissed with prejudice.

 IV.   CONCLUSION

       For the foregoing reasons, it is ORDERED AND ADJUDGED as follows:

       1. Defendant Bimal Fernando’s Motion to Dismiss Second Amended Complaint

           (Doc. 80) is GRANTED.

       2. The Second Amended Complaint (Doc. 73) is DISSMISSED WITH

           PREJUDICE.

       3. The Clerk of Court is DIRECTED to terminate any pending deadlines and to

           thereafter close the file.

       DONE AND ORDERED in Orlando, Florida, on August 1, 2018.




 Copies furnished to:

 Counsel of Record
 Unrepresented Parties




                                            5
